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                            UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT MICHIGAN

STRIKE 3 HOLDINGS, LLC,                          )
                                                 )
               Plaintiff,                        )   Civil Case No. 1:24-cv-00094-RJJ-RSK
                                                 )
v.                                               )
                                                 )
JOHN DOE subscriber assigned IP                  )
Address 96.42.162.10,                            )
                                                 )
               Defendant.                        )
                                                 )

            [PROPOSED] ORDER ON MOTION FOR LEAVE TO SERVE
         THIRD-PARTY SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE

       THIS CAUSE came before the Court upon Plaintiff’s Motion for Leave to Serve A

Third-Party Subpoena Prior to a Rule 26(f) Conference (the “Motion”), and the Court being duly

advised in the premises does hereby:

       FIND, ORDER AND ADJUDGE:

        1.     Plaintiff established that “good cause” exists for it to serve a third party subpoena

on Spectrum (hereinafter the “ISP”). See UMG Recording, Inc. v. Doe, 2008 WL 4104214, *4

(N.D. Cal. 2008); and Arista Records LLC v. Does 1-19, 551 F. Supp. 2d 1, 6–7 (D.D.C. 2008).

        2.     Plaintiff may serve the ISP with a Rule 45 subpoena commanding the ISP to

provide Plaintiff with the true name and address of the Defendant to whom the ISP assigned an

IP address as set forth in the Complaint. Plaintiff shall attach to any such subpoena a copy of

this Order.

        3.     Plaintiff may also serve a Rule 45 subpoena in the same manner as above on any

service provider that is identified in response to a subpoena as a provider of Internet services to

one of the Defendants.



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          4.     If the ISP qualifies as a “cable operator,” as defined by 47 U.S.C. § 522(5), which

states:

          the term “cable operator” means any person or group of persons

          (A) who provides cable service over a cable system and directly or through one
              or more affiliates owns a significant interest in such cable system, or

          (B) who otherwise controls or is responsible for, through any arrangement, the
              management and operation of such a cable system.

it shall comply with 47 U.S.C. § 551(c)(2)(B), which states:

          A cable operator may disclose such [personal identifying] information if the
          disclosure is . . . made pursuant to a court order authorizing such disclosure, if the
          subscriber is notified of such order by the person to whom the order is directed.

by sending a copy of this Order to the Defendant.

          5.     Plaintiff may only use the information disclosed in response to a Rule 45

subpoena served on the ISP for the purpose of protecting and enforcing Plaintiff’s rights as set

forth in its Complaint.



          DONE AND ORDERED this ___ day of ________________, 202___.



                                         By: ____________________________________
                                              UNITED STATES DISTRICT JUDGE




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